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gAdcl

0dd/se/e dAlVddn LSv1

NIW SL 70-das-pz SSONVEYNLSIC CNV SLOT
SdH yo-das-7z a FONOs 4O ASN
NIA SL 70-das-2z NOISIANAdNS ALINNDSS
SYHZ yo-ny-¢ A FONSAGIAS
SUH + ror, mM HOVISOH V AWO9S9 OL LON MOH
SMH | pO-Uunt-pZ 6 AVUdS 90
SYHNOH ¢ PO-ABII-S | 6 LNSASSVYVH IWAXSs
SUNOH + p0-de4-zi x SOVNONV'INOIS
SUNOH + yo-Uer-1Z SONYS
g0-09q-) NOILowlodd

SMH $0-AON-9 9K HOYVaS 1139 NOSYAd
NIA SL €0-190-9 SeYNLING BLVANI ONY SSSA0IdNS
SHH + g0-des-1L add ANY Civ LSais
SUH QL go-das-¢ X YRAOY ‘NOLLAIdINOD 190d
SUH SL go-bny-9 Xx YHAON YALAWINSd ‘NOILSIdWIOD LSOd
NIW $1 eO-INt-4z (Sula) SWOON IOMLNSO NI S3xXOd ASM AONSONAING
NIA SL SO-Nl-2Z SBONVHD SWILYSAO GNY TIONAYd ‘SLvddn SyYsquo
SMH 9} co-lnr-¢ =X YSAOY WIGS ‘NOLLAIdNOD 180d
SHH OL eo-unr-9z xX MSS INOWS ‘NOMA IdNOD LSOd
NIW SL EO-uNP-GZ SOVi I LIHS GNV AMLSIDaY ASy
SUH ¢ eo-unp-6, 6 ONINIVELL LOdd
NIW SL SO-UBIN-ZZ SyINLS YSONNH
SUH 91 CO-leW-gL A YADAIO HOOT ‘NOILAIdNOD LSOd
SYH OL so-le-2) xX WOOY IOYLNOD ‘NOILAIdNOD LSOd
SUH 91 SO-UEA-LL A TOULNOD ONINOO"” ‘NOILAIdWOD LSOd
NIW SL SO-IEW-8 BYNGAIONd ANVOINYNH AONSSYSINS
NIA SL SO-UBIN-S SASY AONASNSWS
NUA SL SO-B-L SSUNGAIONd SNASS SWIND
$0-494-9| X SLNIVULSAY JO 3Sn

$0-494-9 % AVUdS 30

$0-494-9 X CIV LSuld SOW Id SNIMNOM

SMYVINY SUNOH OF €0-484-9 XC ASYNOS ONINIVELL ADIAYSS-AYd YNOH-OF
co/e/e =: QAeiH ALVd

SNOILOSYHOS -NOISIAIC b8L:# ADCVE SINNV ‘AT ay “anNYN

QHOOsY ONINIVELL LNSAWLYVd3d AsRISHS ALNNOO NOSINYVH

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GAZ

g00c/82/2 GALVGdN LSV1

NIW St G0-G84-22 SNAVd sasIdaHS ONLLOVINOD
UUILU Gp G0-93s-1Z ALIRINDAS “Wwlosds
NII GL $0-48+4-0¢ WoldsaW OL saVLS QAVSH ONIGNAS
NIA SE g$0-d283-91 ONISNOH -1/a
NIA GL $0-983-7} aLVIAN( NY SO HONVaS
NIV SL g$O-d94-9 SSLVANIMSIN LINVSSY / advosa
NIA SE G0-Ga4-} NOILVOINNWIWIOS Oldvea
Ni SL gg-uer-L¢ SQUOORY SONVGNALLY
NIA St GO-Uer-O€ NOLLVOISILON / SHSSIINN SSVO
NEA SL GO-UER=2¢ SIVONVIA SNOILValSdO IONLNOS YSMOL
NIA GL GO-UEL-PZ_ VEeV SNISNOH FIV ONINSLNA SHSOlIO FIV
NUALGL GO-UEP-ES SSLVANI 3O SNIHONVaAS
NUAL SL GO-UBP-0Z NOISIAYSdNS ALIGNS
NIA GL go-uer-2 | SONVdGAYY SLVIAINI
NIWA SL GO-URP-¢ |. SAYNdsASOYd ANANS FAI
NIA GL GO-UEP-c} SQUVONVLS ONINOOYS ANV SS3xNd SaA01dNa
NIA SL GO-UeP- || AGOLSNS AO FONVHO
NUN SL SOQUEL -G (T1V9 MOIS) SOIANAS SuVd ALIVSH
¥0-08Q°S d2V1d WHOM S3aus ONNG
NIA GL GO-LEr-P SWVeOONd SNOIDITEY
NA SL SQruef-¢g SOIAMAS AYVO HLIVSH
NIAL S| 70-8Q-0¢ NOLLWINDVAA Sula YO AOD YO10D AGNV HOLY ACIOINS
NIA GL 70-099)-6Z SMIHLS AO dod
NIA SL ¥0-99Q-8¢ LSSNOAY SAVST ONINIVELL ONY ASW LIT SWANNY|
SHYVINAY SYNOH ONINIVALL Siva. NOLLVOISLLYSAD/Sssv19
‘agi aLva
LAAHS NOLTLYANTILNOD ‘# Adv TAIN
IWHYANF9 SAWILL IVAINNW SHOLISIA ‘SAZM QaLOLSaY Vauy
SYNOH ONINIVEL aivda NOILVOlsILYADSSVIO
NII Gt ¥0-08q-Es NOILNSAYALNI SISIHO SqIons
NIWA SL 0-08-22 HOLVAA SCISINS
NIA GL ¥0-038Q-12 ONILISIA GNV “SANOHdS TSL VIA
NIA Gt #0-98Q-91

SQNV4 CI SLLVIAIN] SO LNAWSOV1dS4

GdO0sdy ONINIVaL LNSALYVd3d JSIMSHS ALNNOOD NOSINYVH

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8doEe

g00c/8z/e GALVAdN LSV1

NIW SL GO-dy-6 | SYSYMYOM ZONSLNIVW (OWS 00/Z/9
NIA St GO-dy-9 |. LINVSSYV FIdANIS / SHODYVHO ONMia ‘OWS oer L/e
NIA $+ Go-idy-2 | NOILVZINVONO JO FISVL “LNSNSSVNVA 2 NOLLVELLSINIWGY
NIW St. SO-dy-p 1 ONIHLVE ‘SAMddNS ONIGISP ‘OSNIHLOID “ANSIOAH F NOILYLINVS
NIW St go-sdy-¢ | SCYOOSY WOIGSW SLVMINI “SYVOHLIVaH
NIW $4 Go-idy-Z 1 ' SYEYWYOM SONALNIVIN ‘OWS 00/2/9
NIW St GO-idy-| | SAAVS1 daALUOOSA ‘SaYuNdgaIOONd ASVAITY SLVANI
NIW $+ g0-Idy-Ol CNVEVAELNOD 4O IOMLNOD “IONLNOD ANY ALINNDAS
NIW $4 Go-udy-2 SLNNODOV SLVAINI ‘dd
NI St $0-sdy-9 WIHALVA DILSOVS CNY 'SIXOL ‘SISVAIWY 1A d@d
NIW $1 goudy-g SHLVAd SLVINNI-FADNASYAINIS CONV ALSSVS (8d
NIA $4 Go-sdy-7 SL3IG WIDSdS-ADIANSS GOO ‘d?d
NIW $1. SO-UBIAH LS SALVWNI SAAN WIl0SdS ‘SANNGIDOUd F ADIIOd
NIW St GO-EWI-0€ ‘OL “TISVAINV 4 ‘SAUNdAIONd AONSOUSNA BALAAVS Z00'60 VOV
NIW GO-IB6Z NOILVANOAY ‘SWIVHOONd 700'1Z Wav
NIA SL GO-IEI-9Z SAYNdAIONd SASVAIAY SALVANI Loo'el Vov
NI SL GO-UBW-8Z HiVAd YO SSSNTH SLVAINI ‘auvoO HLIVSH
NIA! $1 GO-JEW-LZ HLVWAd YO SSANTH SLVWNI ‘ANVO HIIVSH
NI $I SO-JEWPZ SANMAMING WYOSINA ALNG-sadO ‘OWAIN go/ez/e
NIL $4 GO-IEW-SZ SYSYYOM SLVANI ‘SAYNGIDONd GNY ADIIOd
NIW $1} GO-SBIN-ZZ HOUVSES ‘Sayundso00udd ANY ADIIOd
NIA $4 SO-IBIA-LL SLONAOYd ODOVEOL JO SSN :OWAW L0/01/6
NIW $} GO-BIN-OL “IVI AO HOYVES ‘OWSW Lo/os/6
NIW $I. GO-JEWI-S | ALMISVINNODOV ALVWNI ‘AIWBI L0/22/2
NIW St SO-UB-P | ONINIVUL JO SGYVANVLS VOV
NIW St GO-~1BI-§ |. NOLLVOIAINAA AVAL GOOs
NIA SE GO-SBW-OL ALaadOud ASAOULSSC YO GS9VWV :OWAW +0-22-Z1
SUH F SO~BW-OLK LOdd
NII SE Go-JeW-6 SSVd NOILVIIGSW ‘OWAW rosag/9
NHW SL GO-Je Wg dAVLS IWOIdAIN 4O NOILLVOISILON
NIA SL SO-SBINA2 NOILOAS Woidaw / Sova WNOSuad
NIW SL SO-EW-S LSI] LOVLNOS-NON SLVAINI
NIW $4 SO-JEW-Z AWIL WOOMAVG SALVWNI YOsd FINGAHSS
NIA $4 G0-434-92 FWIL WOOYAVC SALVAN! YOs TINGAHOS
NIA $1 G0-493-/Z SASY JO NYNLAY ATYVS

YH + G0-4a4-pe X ONILIMAA LYOdSy
NUAI SL G0-Ga-7Z NOILOZS IWOldSW / SOVE IWNOSHad

QuO00a84 ONINIVAL LNAWLYVdad AsaIMaHS ALNNOOD NOSINNVH

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8AdO +r

NIA SL
Nt gh
‘SHH +
NIA GI
NIW Gt
NIW G1
NIW ¢}-
NUA GL
NA SI
NIA ¢}
NIW ot
NiW Sb
NIA Gt
NIW SI
NIA SL
NIW SL
NIW Gt
NIWA St
NIW St
NIW SE
NIW GL
NIV 1.
NIA G1
NIW SE
NIW St
NIA SL
NIW $1
NUN SE
NHA SL
NIA St
NIAl St
NIA $1
NIA SL
NIW St
NIA GL
NIW St
NIA SL

So-m-9
go-InP-g
go-unr-LzX
go-unr-og
go-unt-62
go-unr-gz
go-unt-P2
go-unr-ez
GO-UNL-2z
go-unr-Lz
Go-unr-6}
go-unr-g}
GO-uNnp-g}
go-unft-}.
go-unr-¢1
so-unp-ZL
Go-unt-6
go-unr-g
go-unr-9
go-unr-g
go-unp-z
go-unr-|
go-Aey|-L¢
Go-APW-9Z
GO-ABIW-SZ
Go-AeW-rz
GO-ABI-SZ
GO-ABW-2z
GO-ABAI-6 L
Go-Aey\-8 1
Go-ABW-L 1
GO-APW-91
Go-sdy-1Z
GO-udy-Sz
Go-~dy-7z
GO-~Idy-1.Z
Go-Idy-0z

g00c/ed/e GALVAdN LSv1

SATSIHSA AO ASN 8 SSADOV GATIONLNOD-IOMLNOD F ALINNOAS
VIGAW OL. SSADOV ‘S.LHOIY SLVIAIN!

SSAUNdAIONd ALINNDAS ? AONSOYSN]

SWAVAIA SO BSN “IOMLNOD 2 ALINNDAS

YASLNNIOA ® LNSWBATIOANI N3ZILIO

‘OVNVAL 2 SSISNADY ACISLNO AO AION “NOLLVYLSININGY
NOISSIW! ? SSOduNd ‘SIVOS ALIMNOVA ‘LNSWASVNVW ? ‘NINGY
$ S¥907 ‘SASH AO ASN ‘SSAIOV TOULNOD “TOULNOD ® ALINNDZS
SLINIVELSSY JO ASN “IOMLNOS 8 ALINNOAS

ANBWISSVAVH WNXSS “TENNOSYad

NOILNALAY 2? NOILOSTAS TANNOSUAd ‘TENNOSYSd

JOMLNOSD ONY ALINOAS

SNOILVSILSAANI ® SNOILOAdSNI YS.LNAD NOLLNALSG ‘NINGY
INANASVYNVAN 2 SSIONASV ACIS.LNO 4O FIO ‘NOLLVULSININGY
SALVWIN] SGAAN WIDSdS ‘SNOILVOISISSVI9
NOLLVLNAWIYSdX3 WOIGEW NO NOLLVIIGIHOUd

SWVeSOdd AYVO HLIVSH IWldddS ‘AYvO HLIVSH
SAYNdAIONd ADNSOUSWAa 8 ALAAVS

ALISVdV9 A/a ‘OWN $0/Z/9

SASIAMES ZDNAYAARY ‘LNAWdOTAARG dsvVLS 8 ONINIVYL
INSASSVYVH WOXSS:TANNOSYad

SINVLSISSV SLVWNI ‘SSDIANSS ANVNSIT

JOVIAVA ALVINNI'SSSIANAS SNOIO! TAY

SLNANSYINOAY ONIASVLS SO MAIARY “JEANNOSYad
SAYUNGSIONd AMLNA AYOWAY “IOMLNOS 8 ALUNOAS
SLINAWNOISSV YADdasO WNOILDAYYOS “IOULNOS 8 ALINNOSS
SLNAWSYINOSY ONISAVLS AO MAIAAY “TEANNOSYad
NOILVaVdaud ASVS 1S -SSyYNdsaDONd ASVATAY SLVAN!
SASIAYSS AUVESI] WYANAS ‘SLHOI SLVWANI

VICE OL SSAD9V 'SLHOIY SLVINI

SLNAWSYINOAY ONIASAVLS SAO MSIARY TENNOSYad

SAAOW 1149 Aa9NOd “TOULNOD ® ALINNOAS

SLAIO Iwloads -ADIANAS GOOd

HOV Id WUOM Baas ONG TSNNOSYad

NOISSIW 8 "3SOdNd ‘STVO9 ALIMIOVS OVNY 8 NIAGY-ONS
SOuV9 NOILVIlsILNAC! ASAO Ida JANNOSHad
LNSWSSYNEWISe ASAC dN “TANNOSYad-ANANVYOWAN

GdO0984 ONINIVSL LNAWLaWd3ad 4dIMaHS ALNNOOD NOSINYVWH
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8Aog

NIA St
NII GL
‘NIIN G1
NII SE
NIV SL
NI SL
NIA St
NIA SL
NIA Sb
NIWA SI
NIW SI
SYH 7Z
NW SI.
NIWA SI
NIW SL
SdH OF
NIA St
NIW GL
NIA Gt
NIA SL
NIW SL
NIWA Gh
SHH &
NIWA SL
NI G1
NIWA Sb
NII SE
NIAL
NIWA St
NIA $4
NIA St
UILU Gy}
NIW ¢t
NIW $1
NI St
NIW SL
“SHH ¢

go-uer-1zZ
go-UeP-0Z
go-uer-6 |.
90-ueP-p]
go-uer-g]
GO-AON-92
GO-AON-FZ
go-Bny-¢z
50-Bny-¢z
go-Bny-6|,
go-Bny-g1
Go-Bny-2 19
go-6ny-2 |
go-Bny-9},
go-Sny-¢ |
go-6ny-z1%
go-Bny-Z1,
go-Gny-) 1
go-Bny-o}
go-Bny-6
go-Bny-¢
go-Bny-p
go-6ny-7X
g0-Bny-¢
go-Sny-Z
go-Inr-6z
So-Inr-2z
g0-INt-92
GO-Inr-zz
S0-InP-LZ
GO-Int-0z
GO-INf-6 |.
SO-INt +}
GO-INT-¢}.
Go-Inr-6
go-Int-g
go-inp~2 X

8002/82/e GALVGdN LSV1

LOW 8 SAIONSSV SCISLNO 4O F10N ‘Saynqgaoowd ® ADdIIOd
SALVIN! GxIVdI! ONINVSH ‘SSYNawIOwd B ADIMOd
LINVSSV YOd SLVWNI NV ONIDUVHO

AMIHLS YSAONNH ‘SSYNdIIONd F ADINOd

JOIO.LOYd NOILOS 109 SONadIAS

SLISOdA ‘SSUNGADONd F ADINOd

JOYS AO ASN ‘SAYNGAIONd ¥F ADIIOd

SHUAYAS WAW SAONVMOTI AXVILAIG ‘SOIAUSS doo
SAYUNdAIONd AY.LNA AYOWRY IONLNOO ® ALINNORS
AINVLSISSY WWO31 ‘sauNdsIONd B ADINOd

ONILYOdAaY WOILSILVLS ATHLNOW ‘SaYNdkIOwd ® ADIMOd
SALVIINI SAILYINdINVIA /M SNIMYOM ‘ALLVOISILYSO Voy
NOLLN3ALAY 8 NOILLOSTAS TANNOSUSd ‘SANNdIOONd F ADINOd
JOYNLNOS ASM ‘SAYNGIIONd ¥ ADIIOd

SALVINN] STEVSIC ‘SYNdaIONd F ADIIOd

| NOISIANZENS TWNOLLOANYOS ‘SLVOISILYAO VOW

SQYOORY TANNOSYAd ‘FANAGAIONd % ADIIOd

ONVAIWIOD 40 NIVHS ‘Sendaoodd 8 AdIIOd

LONGNOS 40 SA1NY IWHANAD ‘AYNdADONd F ADIIOd
NOISSIW 2 3SOduNd'STVOS ALIMOVA ‘AYNAAIONd * ADIM0d
AMILS YAONNH -VOV

SALVWNI SIVW3S ‘SYNdaIONd 8 ADINIOd

LNAWSSVAVH WNxas

BAILOALONd/ASVNITAISSIC/ONINVAH-Sad SALVAINI LOW Twldads
TOSLNOS ONILADANG GNV LOW ALMISISNOdSSY WoSl4 Wosid

NOILVavdadd ASVAIAN'SAYNdaIONd SSVATSY ALVVINI
SCYVONVLS ONINCONS 8 SSAYNO SSAC IdWSTENNOSYad
AONV.LSISSV TV93T ‘NOLLVYLSININGY

ALaAVS HSdsAO

LUX3/LN3 SNOSYAd JO MAIASY ALINNDAS“IOULNOD F ALINNOAS
Sid AlVO ® XSQNI YSLSVAHOUVASSNRNIALSAS NOLLVINNO-NI

SOIHLa dO AOS ‘TANNOSHAd
SOIHLA dO AMOS “ISENNOSuAad

2 dO ATaVL LOVNVW 2 TANNOSHAd CALNIOddY -LOVNVI 2 NIN

SAUNAIIONd ANVIOIANH AONAONSWS
SLINVISISSV ALVIN] ‘SSD/ANAS AUvUE!I
ASIY ACIOINS AO SNOIS ¥ SNOLLNVOSYd Aaloins

CweO03e ONINIVAL LNAWLYVd3G AdIMSHS ALNNOD NOSINYVH
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8409

NIA SI
NIN St
NIN St
NIW 4
NUA St
NIA $1
NIWA $1
NIN $1
NIW $t
NIW 94
NIW $1
NIN $1
NIW $I
NIW $1
NIW $1
NI SL
NIW $1
NI St
NIW St
NIA SL
NIW $1
SUH Y
“SUH ¢
NIW St
NIW SL
NI SI
NIW $1
NIA St
NIW SL
NI $1
NIW Sh
NIN Gt
NIN St
NIA $1
NIN $1
NIW $+
NIA St

Lo-uer-pL.
Zo-uer-Z1.
LQ-uEP-g
Lo-uer-¢
90-99q-6z
90-AON-22Z
90-PO-22
90-90-42
90-PO-9L
90-O-21
go-uNnP-¢z
go-unp-0Z
go-une-| |
go-unr-9
Q0-ABIN-ZZ
9O-ABIN|-8 |
go-AeW-Z |
90-ARIN-FL
go-Aey-¢
QO-dy-0¢
90-~idy-6 |.
9a-idy-a)%
90-G94-42X
go~dy-¢ |
90-dy-r1.
90-Idy-¢ |.
gQ~dy-9
90~dy-2
90-idy-9
90-1RIN-O
9O-JBIN-0€
90-42-4~2 |
90-494-Z]
90-G3-4-01

» 90°G84-6

QO-LEP-OZ
9O-UBL-2Z

s00z/ee/e AALVddN LSV1I

VOLLSSANI ® SNOILOZdSNI USLN3O NOLLNALAG ‘NOLLVYLSININGY
S WAW SSONVMOTIV AXV.LAIC ‘ONINNY 1d ANEW FdAuaS doog
SAIMINON] AJOLSND ‘SAUNGsaBIONd ¥ ADIIOd

ASNEV FONVLSENS F FIAUSTS IWId0S ‘SAYNNGIIONd 2 ADMOd
yAdHO LSOd

TASNNOD OL SSA9OV 'SLHOIY SLVAINI

SVAYV LADYVL TOULNOS LNiIOd

MDO18 € ‘SUAACNO 1LS0d

‘-LONGNOD 4O SAIN WENO “SYNGaIIONd 8 ADIOd

Sal[dI10d SLNIVALSAY JO 3SN 8 3OYOS AO ASN

L33HS ALMIGVLNIOSOV WHW ‘OWS 90/¢z/9

WIGELVA SILSNVS 8 OIXOL ‘SIVAN 14 (SSENGIOONd ® ADNOd
NVid YALSVSIC IWENLVN ‘SAUNdIIONd 8 ADIMOd

SSIHLA 40 309 'sayundaoowd 8 AdINOd

F1avl LOW 2 TANNOSYad GALNIOdd¥ (LOW 9 NOULLVALSININGY
SASIAYAS AYVO HLIVSH ‘SAUNGAIONd B ADMOd

Old WA LNANLaVd3ad NSSMLAag SOVINeVIA [LPH YSaCNO WWeaNzo
LO5LOUd SHDIANAS ? SAIWHDONd OL SSADOV 'SLHOY ALVIANI
NVId NOLLWNOVAA ‘SAYNdAIONd 8 ADIIOd

LANAWNSISSY YROIAAO WNOLLDAYNOD “IONLNOD 2 ALIANNDAS
SQUODaY TANNOSAAd ‘SSYNAIIONd F ADIMNOd

ONINIVAL SWIC

NOLOVaLXa T1453
NOISSIW ® SSOduNd 'STVOO ALIMOVa LOW 8 NOLLVWELSINIWGY

HADNsAAO ALIMNOAS YALAWHAd ‘SUYAAHO Lsod

HOLVM WIGAN ‘SYaquHO LSOd

SAMddNS WNOSHAd 8 HLV8'dS9g'HLOT “ANAIOAH ® NOLLYLINYS
SAIMINONI AGOLSNS :SSUNdswIONd F ADIMOd

SHAVS' CALYOOSA ‘SAYNdIVONd ASVSISY ALWANI

SYAqHO 1SOd IOMLNOD WAYLNSO

YFzdsddO TOULNOD ONIMOO” ‘S¥AqHO LSOd

SILA AO ACOS “TANNOSYad

SONNd SLVWNI ® LNSAWSOVNVW ‘NSALNVO/ANWSSININIOD “W3Sla
AONVLSISSV 1V931 ‘NOILVELSININGY

VIGAW SMAN ‘22# SYACHO WYANAS

NOILVOIAISSV19 ‘SSYNdIIONd ® AD!IIOd

TOYNLNOS WALNAD “IONLNOS 8 ALINNODSS

GxaO08e ONINIVEL LNSWLYVddd JaIMSHS ALNNOD NOSINNVH
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SAO L

NII Gt.
NIW SL
NIW SL
NIA GL
UILU Gf,
NIA $1
NIA St
NIA G1
NII St
NI SE
NIA St
NIA S-
NII SL
NIW SI
‘SUH P
NIW 91
NIA S}
NIA Gt
NIW Gt
NIW $1
NIA Si
NIA St
NIA 1}
SUH 8
NIA Si
NIA SL
NIW ¢}
NIN GI}
NIA St
NIA St
NISL
NIW SL
NIA SL
NIA ¢}
NIA $f.
NIW St
SYH

20-INr-g}
20-INf-a4
20-Inf-6
20-Inp-g
20-Inp-y
20-unp-9¢
Lo-unt-6z
LO-uNp-9z
L0-UNP-|Z
2o-unp-24
20-ABW\-9Z
LO-ABW-O}
L0-Aei-6
LO-ABIN-€
Loudy-22K
LO-Idy-9z
Lo-idy-¢z
LO~dy-LZ
Lowdy-9 1
ZO-“B-6Z
LO-JEN-EZ
20-18-07
LO-IBIN-G 1.
LO-sBW-Z LK
LO-28W- {|
LO-IBW-O1
LO-JEIN6
LO-IEW-9
LO-IRIN-G
10-994-92
10-494-¢ |.
20-49-01
Lo-uep-LE
10-uep-9z
L0-Uep-¢z
Lo-uep-zz
2o-uep-61 %

8002/82/2 GALVAd? LSVT

SAYUNAIIONd SNIMdIOSIG ‘SAUNGIIONd *F ADIIOd

LONANOD 40 SAIN ‘SAUNAAIONd F ADIIOd

HOYVAS :SAYNAGAIONd F AdIMOd

NOILVAMASEO F ONISNOH ALWAINI ‘SAuNdsaoowd Aanod
NOILVOlsISSV19 ‘SAUNGIIONd F ADI1Od

JONVAAIYS SLVAINI ‘SAUNGAIONd *F ADIIOd

NVId HELSVSIC WHNLYN ‘SAuUNdao0ONd F ADIIOd

NOLLVNOVAR ? Sula ‘SSUNCAIONd F ADIIOd

SINNOS ‘SaeNdazDOdd & ADIOd

SSIHLE AO AGO IANNOSUad

LONANOSD AO S3INY WANTS ‘ssunqzdord *F Add
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Case 1:05-cv-00326-LG-JMR Document 77-6 Filed 08/14/08 Page 9 of 44

HARRISON COUNTY

9
- SHERIFF’S DEPARTMENT
& Post Office Box 1480
George #. Pague fe. Gulfport, Mississippi 39502
Sheriff
March 25, 2007
Annie Kelly
Badge # 181

You have successfully completed the Oleoresin Capsicum (O.C.) Re-certification requirements. Your
certification expires January 19, 2008. To keep you qualification to carry the O.C. spray, please continue
to up-date your certification yearly. A copy of this letter will be placed in your personal training file in

the training department.

Tf you have any questions or need additional information, you may contact the training department at 604-
2361.

{A
hel. Kenneth Rogers

ZA (~ Instructor

Office: (228) 865-7092 Fax: (228) 865-7071 Dispatch: (228) 865-7060

Case 1:05-cv-00326-LG-JMR Document 77-6 Filed 08/14/08 Page 10 of 44

HARRISON COUNTY |
SHERIFF’S DEPARTMENT

Post Office Box 1480
Gulfport, Mississippi 39502

Personnel Order: 07-0347

August 30, 2007

SUBJECT: PROMOTION

TO: ANNIE KELLY

Effective, Saturday, September 15, 2007, you are hereby promoted othe ya

assigned to the Corrections Division. Your I.D. number will yemais dme and your
salary shall be as indicated.

HARRISON COUNTY
GHP/pip
cc:- Personnel File

Major Wayne H. Payne

Dr, Donald Cabana, Warden

Captain Waiter Pitts

Captain Steve Campbell

Captain Windy Swetman

Captain Alvin King ~

Captain Kenneth Rogers

Captain Joe Pevey

Captain Tony Sauro

Captain Patrick Coleman .

Captain Ron Pullen

Lt. Phil Marr

Lt. Bruce Dubuisson

Lt Thomas Clifford

Lt. Jim Randall

Corporal James McMahan

Regina Leslie, Records

Kendra Necaise, Payroll

Sherry Cruthirds, Inventory Administrator

Civil Service Commission

Rhonda Faul, Payroll

Dina Bates, Harrison County Personnel

Becky Collins, Recruiter

SS aoe a ss
Office: (228) 865-7092 Fax; (228) 865-7071 Dispatch: (228) 865-7060

Case 1:05-cv-00326-LG-JMR Document 77-6 Filed 08/14/08 Page 11 of 44

HARRISON COUNTY
SHERIFF’S DEPARTMENT

Post Office Box 1480
Gulfport, Mississippi 39502

Personnel Order: 2006-0182

Date: AUGUST 3, 2006
Subject: MILITARY ASSIGNMENT
To: ANNIE KELLY

Effective, Monday, July 3, 2006, you will be place on Military Leave thru Saturday,
September 30, 2006.

GHP/plp
Personnel File
Major Wayne H. Payne Captain Tony Sauro
Major Dianne Riley Captain Patrick Coleman
Captain Rick Gaston Captain Ron Pullen
Captain Steve Campbell Lt. Phil Marr
Captain Rupert Lacy Lt. Bruce Dubuisson
Captain Phil Taylor Lt. Thomas Clifford
Captain Walter Pitts

Captain Windy Swetman

Lieutenant Joe Pevey

Lieutenant Jim Randall

Kendra Necaise, Payroll/Time

Regina Leslie, Records Division

Sherry Cruthirds, Supply/Inventory Clerk

Civil Service Commission

Rhonda Faul, Harrison County Payroll

Dina Bates, Harrison County Personnel

Norma Lear, Harrison County Chancery Clerks Office

Office: (228) 865-7092 Fax: (228) 865-7071 Dispatch: (228) 865-7060
Case 1:05-cv-00326-LG-JMR Document 77-6 Filed 08/14/08 Page 12 of 44

Harrison County
SHERIFF’S DEPARTMENT

Post Office Box 1480
Gulfport, Mississippi 39502

Personnel Order: 2003-0240

Date: December 1, 2003
Subject: PROMOTION
To: CORRECTIONAL OFFICER ANNIE KELLY

Effective, Monday, December 1, 2003 you are hereby promoted to FTO Training Officer
with the Correctional Division. Your I.D. number will remain the same.

ZL. ‘AL Payn¢g, Jr.
/ Sheriff

ce: Personnel File
Major Richard Smith
Major Dianne Riley —
Chief of Security Rick Gaston
Captain Lou Bissonnette
Captain Rupert Lacy’
Captain Phil Taylor
Lieutenant Walter Pitts
Lieutenant Jim Randall
Sergeant April Krieger
Dee Greer, Payroll/Time
Regina Leslie, Records Division
Sandy Ricket, Inventory Administrator
Civil Service Commission
Rhonda Faul, Harrison County Payroll
Londa Thorstenson, Harrison County Personnel
Lynn Frederick, Harrison County Chancery Clerks Office

Office: (228) 865-7092 Fax: (228) 865-7071 Dispatch: (228) 865-7060
Case 1:05-cv-00326-LG-JMR Document 77-6 Filed 08/14/08 Page 13 of 44

HARRISON COUNTY
SHERIFF’S DEPARTMENT

Post Office Box 1480
Gulfport, Mississippi 39502

Personnel Order: 03-0929

Date: JANUARY 30, 2003
Subject: EMPLOYMENT FULL-TIME HOURLY
TO: ANNIE KELLY

Effective Monday, February 3, 2003, you are employed with the Harrison County Sheriff’s

Department as a Correctional Officer. Your I.D. Number will bé 181 and your hourly rate of
pay shall be as indicated. Your supervisor will be Captain PY Taylor.

GHP/plp
Personnel File -
Major E. R. Cook
Major Melvin Brisolara oo
Major Dianne Riley
Captain Phil Taylor
Rick Gaston, Chief of Security
Captain Lou Bissonette
Captain Rupert H. Lacy
Lieutenant Walter Pitts
Sergeant April Krieger
Regina Leslie, Records
Sandy Ricket, Inventory Administrator
Shirley Ross, Civil Service Commission
Rbonda Faul, Payroll
Londa Thorstenson, Harrison County Personnel
Lynn Frederick, Chancery Clerks Office

' Office: (228) 865-7092 Fax: (228) 865-7071 Dispatch: (228) 865-7060
Page 14 of 44

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Case 1:05-cv-00326-LG-JMR Document 77-6 Filed 08/14/08 Page 15 of 44

AMERICAN GORRECTIONAL ASSOCIATION

4380 Forses BouLEvaRD © LANHAM, ManvLanp 20706-4322
301 © 948 © 1800 Fax 30 © 918 « 1900
WWW.ACA.ORG .

August 17, 2005

Annie Kelly
Harrison County Adult Detention Center

Attn: Paula Hentges, Training Dept.
10451 Larkin Smith Drive
Gulfport, MS 39503-4615

Dear Ms. Kelly:

Congratulations on your successful completion of the American Correctional Association's Working
with Manipulative Inmates Self-Instructional Course.

Having completed this training program, you are now eligible to receive continuing education units
(CEU's)from University of Maryland, College Park. If you would like to receive CEU's, complete the
enclosed registration form and mail it to the American Correctional Association. Please make out your

check or money order to ACA in the amount of $18.00.

Please note also that several of ACA's self-instructional courses have been reviewed by and
recommended for college credits. The enclosed sheet provides information on how to go about getting
the credits on your transcript. For information on other ACA programs eligible for college credit, please

check our website at www.aca.org.

Once again, J commend your efforts and encourage you to have a copy of this letter placed in your
personnel file along with your transcript. If you have any questions or need additional information, please

email the Professional Development staff at collegecredits@aca.org.

Sincerely,

William W. Sondervan, Ed.D., CCE
Director, Professional Development

Participant ID# 10703271

Enclosures:
Certificate, CEU Form, Request Form

Your Grade(s):
97

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Annie Kelly

In Recognition of Your Continued Professional Development

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Working with Manipulative Inmates Self-Instructional Course

Certificate of Con

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August 2005
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Case 1:05-cv-00326-LG-JMR Document 77-6 Filed 08/14/08 Page 17 of 44

Memorandum Receipt

Date: 2 -M-06 ‘

I Ann itl tell received a copy of the memo generated by
ei

Fens

Major Smith regarding Off-Duty Uniform Guidelines dated March 22, 2005.

Officers Signat

Case 1:05-cv-00326-LG-JMR Document 77-6 Filed 08/14/08 Page 18 of 44

SHIFT TRAINING

POLICY AND PROCEDURE DIRECTIVE

on b05 y An Ne (2 (/

iy received a 15-Minute
" (DATE) (NAME) O

Block Training On Escape / Assault risk inmate During The 2300-0700 Hour Shift
Briefing.

\ REDUTY SIGNATURE AND BADGE NUMBER

Sgi. Leonard #156 —
Supervisor / Instructor

Sgt. Reese #159
Supervisor / Instructor

Case 1:05-cv-00326-LG-JMR Document 77-6 Filed 08/14/08 Page 19 of 44

SHIFT TRAINING

POLICY AND PROCEDURE DIRECTIVE

received a 15-Minute

on {DOK 1 Ann kl

ly
(DATE) (NAME) 27

Block Training On Items to be forwarded daily, During The 2300-0700 Hour Shift
Briefing.

SIGNATURE AND BADGE NUMBER

Set. Leonard #156
Supervisor / Instructor

Sgt. Reese #159
Supervisor / Instructor

Case 1:05-cv-00326-LG-JMR Document 77-6 Filed 08/14/08 Page 20 of 44

SHIFT TRAINING

On February 5, 2005, I A Vie kK [ ( oy received a 15-
Minute Block Training On Inmate grievance repor(/During The 2300-0700 Hour Shift
Briefing.

/gl

DEPUTY SIGNATURE AND BADGE NUMBER

Sgt. Leonard #156
Supervisor / Instructor

Case 1:05-cv-00326-LG-JMR Document 77-6 Filed 08/14/08 Page 21 of 44

SHIFT TRAINING

POLICY AND PROCEDURE DIRECTIVE

On bh “65 | Ain rye Ke (hy received a 15-Minute

(DATE) (NAME)

Block Training On Return of issued radios, During The 2300-0700 Hour Shift Briefing.

\
a eeecoe

i
DEPUTY SIGNATURE AND BADGE NUMBER

Set. Leonard #156
Supervisor / Instructor

Sgt. Reese #159
Supervisor / Instructor

Case 1:05-cv-00326-LG-JMR Document 77-6 Filed 08/14/08 Page 22 of 44

SHIFT TRAINING

On January 31, 2005, I Ane Rel yo received a 15-

Minute Block Training On Attendanct Rec§yds During The 2300-0700 Hour Shift
Briefing.

/ .
OO AND BADGE NUMBER

Sgt. Leonard, E. #156
Supervisor / Instructor

Sgt. Reese, D. #159
Supervisor / Instructor

Case 1:05-cv-00326-LG-JMR Document 77-6 Filed 08/14/08 Page 23 of 44

SHIFT TRAINING

POLICY AND PROCEDURE DIRECTIVE

onl Ay 6 _ Rane Vrs [hy RECEIVED A 15-MINUTE

TRAINING ON MEMO ON MALE oFrIcERLIRTERING FEMALE HOUSING AREAS 2245- 0700
HOUR SHIFTS BRIEFING.

Nl

eye SIGNATURE AND BADGE NUMBER

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SGT. LEONARD #156
SHIFT SUPERVISOR

SGT. REESE #159
SHIFT SUPERVISOR

Case 1:05-cv-00326-LG-JMR Document 77-6 Filed 08/14/08 Page 24 of 44

SHIFT TRAINING

POLICY AND PROCEDURE DIRECTIVE

ON \obp- 05; Nance Vf UK RECEIVED A 15-MINUTE

TRAINING ON MEMO ON SEARCHING OF mbar Sere as 0700 HOUR SHIFTS BRIEFING.

ry IX]

“forse RE AND BADGE NUMBER

SGT. LEONARD #156
SHIFT SUPERVISOR

SGT. REESE #159
SHIFT SUPERVISOR

Case 1:05-cv-00326-LG-JMR Document 77-6 Filed 08/14/08 Page 25 of 44

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AMERICAN CORRECTIONAL ASsOcIATION

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BU © 918 © 1800 Fax 301 © 918 © 1990
WWW.ACA,ORG

August 12, 2005

Annie Kelly
Harrison County Adult Detention Center

Attn: Paula Hentges
1045] Larkin Smith Drive
Gulfport, MS 39503-4615

Dear Ms. Kelly:

Congratulations on your successful completion of the American Correctional Association's Correctional
Supervision I Self-Instructional Course.

Having completed this training program, you are now eligible to receive continuing education units
(CEU's)from University of Maryland, College Park. If you would like to receive CEU's, complete the
enclosed registration form and mail it to the American Correctional Association. Please make out your
check or money order to ACA in the amount of $18.00.

Please note also that several of ACA's self-instructional courses have been reviewed by and
recommended for college credits. The enclosed sheet provides information on how to go about getting
the credits on your transcript. For information on other ACA programs eligible for college credit, please

check our website at www.aca.org.

Once again, I commend your efforts and encourage you to have a copy of this letter placed in your
personnel file along with your transcript. If you have any questions or need additional information, please

email the Professional Development staff at collegecredits@aca.org.

Sincerely,

William W. Sondervan, Ed.D., CCE
Director, Professional Development

_ Participant ID# 10703271

Enclosures:
Certificate, CEU Form, Request Form

Your Grade(s):
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Page 26 of 44

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In Recognition of Your Continued Professional Development
Through the Successful Completion
of The 40Hour
Correctional Supervision I Self-Instructional Course

| DIRECTOR
PROFESSIONAL DEVELOPMENT

August 2005 . . : Gy ‘

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Case 1:05-cv-00326-LG-JMR Document 77-6 Filed 08/14/08 Page 27 of 44

SHIFT TRAINING

POLICY AND PROCEDURE DIRECTIVE

ON 1406, vr viv 1 | RECEIVED A 15-MINUTE

TRAINING ON Post Orders 2245-0706 HOUR SHIFTS BRIEFING.

(i 3¥]
D OE AND BADGE NUMBER

SGT. LEGE #155
SHIFT SUPERVISOR

SGT. REESE #159
SHIFT SUPERVISOR

Case 1:05-cv-00326-LG-JMR Document 77-6 Filed 08/14/08 Page 28 of 44

SHIFT TRAINING

POLICY AND PROCEDURE DIRECTIVE

on to lo OY I A Whe ke [ f x RECEIVED A 15-MINUTE

TRAINING ON TIME SHEET 2245-0700 HOUR SHIFTS BRIEFING.

al

DEPUTY SI@NATURE AND BADGE NUMBER

SGT. REESE #159
SHIFT SUPERVISOR

SGT. LEONARD #156
SHIFT SUPERVISOR

SGT.LEGE #155
SHIFT SUPERVISOR

Case 1:05-cv-00326-LG-JMR Document 77-6 Filed 08/14/08 Page 29 of 44

SHIFT TRAINING
POLICY AND PROCEDURE DIRECTIVE

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ON ey, A N 1Y 1% kelb— RECEIVED A 15-MINUTE

TRAINING ON CHANGE OF CUSTODY 2245-0700 HOUR SHIFTS BRIEFING.

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REPUFY SIGNATURE /AND BADGE NUMBER

SGT. REESE #159
SHIFT SUPERVISOR

SGT. LEONARD #156
SHIFT SUPERVISOR

SGT.LEGE #155
SHIFT SUPERVISOR

Case 1:05-cv-00326-LG-JMR - Document 77-6 Filed 08/14/08 Page 30 of 44

SHIFT TRAINING

POLICY AND PROCEDURE DIRECTIVE

ON January 4, 2005, | Anny 3 (| | VX RECEIVED A 15-MINUTE

TRAINING ON RELIGIOUS PROGRAMS/CHAPLA/NRY 2245-0700 HOUR SHIFTS BRIEFING.

SPU CAFURE AND BADGE NUMBER

SGT. REESE #159
SHIFT SUPERVISOR

SGT. LEONARD #156
SHIFT SUPERVISOR

SGT.LEGE #155 .
SHIFT SUPERVISOR

Case 1:05-cv-00326-LG-JMR Document 77-6 Filed 08/14/08 Page 31 of 44

SHIFT TRAINING

POLICY AND PROCEDURE DIRECTIVE

ON December 30 2004, | han ' C. LU he RECEIVED a 15-MINUTE

TRAINING ON SUICIDE WATCH AND COLOR CODE.FOR FIRE EVACUATION KEYS 2245-0700
HOUR SHIFTS BRIEFING.

a

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( DEPUTY IGNXTURE AND BADGE NUMBER
Ce

SGT. LEGE #155
SHIFT SUPERVISOR

Case 1:05-cv-00326-LG-JMR Document 77-6 Filed 08/14/08 Page 32 of 44

SHIFT TRAINING

On December 22, 2004, I Annie, ILe | lr, received a 15-
Minute Block Training On Suicide Watch, During The 2609-0700 Hour Shift Briefing.

\ Peay AND BADGE NUMBER

Sgt. Dedri Caldwell #152
Supervisor / Instructor

Case 1:05-cv-00326-LG-JMR Document 77-6 Filed 08/14/08 Page 33 of 44

SHIFT TRAINING

POLICY AND PROCEDURE DIRECTIVE

on OAM, A nn 7é. Abn RECEIVED a 15-MINUTE BLOCK

PRINTNAME #7
TRAINING ON POLICY AND PROCEDURE, USE OF FORCE; DURING THE 2300/0700 HOUR

SHIFTS BRIEFING.

1 )

DEPULY JANA TORE AND BADGE NUMBER

SHIFT SUPERVISORS/INSTRUCTOR
SGT. LESLIE MATHIS #228

Case 1:05-cv-00326-LG-JMR Document 77-6 Filed 08/14/08 Page 34 of 44

SHIFT TRAINING
cto _ INTER-OFFICE MEMO
On December 16, 2004, I Sin 12 Vy, | ly received a 15-

Minute Block Training On An Inter-Office Memé On Replacement Inmate ID Bands,
During The 2300-0700 Hour Shift Briefing.

DERUTY SIGNATJRE AND BADGE NUMBER

Set. Dedri Caldwell #314
Supervisor / Instructor

Case 1:05-cv-00326-LG-JMR Document 77-6 Filed 08/14/08 Page 35 of 44

SHIFT TRAINING

On December 23, 2004, 1 Hy ly \ € I L.. received a 15-

Minute Block Training On Suicide Crisis Intervention, During The 2300-0700 Hour Shift

Briefing.
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an"

i \_ PEPE ge ATURE AND BADGE NUMBER
S

Set. Dedri Caldwell #152
Supervisor / Instructor

' Sgt. Leslie Mathis #157
Supervisor / Instructor

Case 1:05-cv-00326-LG-JMR Document 77-6 Filed 08/14/08 Page 36 of 44

SHIFT TRAINING |...

POLICY AND PROCEDURE DIRECTIVE

ont OY ap, bane, Vella RECEIVED a 15-MINUTE BLOCK

PRINT Nowy
TRAINING ON POLICY AND PROCEDURE, RIOTS AND DISTURBANCES; DURING THE

2300/0700 HOUR SHIFTS BRIEFING.

ep AND BADGE NUMBER

SHIFT SUPERVISORS/INSTRUCTOR
SGT, LESLIE MATHIS #228
SGT. DEDRI CALDWELL #314

Case 1:05-cv-00326-LG-JMR Document 77-6 Filed 08/14/08 Page 37 of 44

SHIFT TRAINING

POLICY AND PROCEDURE DIRECTIVE

ON wha af Ann i Ky x. RECEIVED a 15-MINUTE BLOCK

iC. NAME
TRAINING ON POLICY AND PROCEDURE, SE@U SUPERVISION OF HOLDING CELLS;

DURING THE 2300/0700 HOUR SHIFTS BRIEFING.

fd
DEPUTY SIGI ATURE SAD BADGE NUMBER

SHIFT SUPERVISORS/INSTRUCTOR
SGT. LESLIE MATHIS #228
SGT. DEDRI CALDWELL #314

Case 1:05-cv-00326-LG-JMR Document 77-6 Filed 08/14/08 Page 38 of 44

SHIFT TRAINING

ad

POLICY AND PROCEDURE DIRECTIVE

.
On September 7, 2004, I Ih /\ (2 A ({ r/ received a 15-

Minute Block Training From The Policy And Procedyfe Directive On special Needs
Inmates, During The 2245-0700 Hour Shift Briefing.

a AND BADGE NUMBER

Sgt. Nathan Ellsberry #231
Supervisor / Instructor

Sgt. Dedri, Caldwell #314
Supervisor / Instructor

Case 1:05-cv-00326-LG-JMR Document 77-6 Filed 08/14/08 Page 39 of 44

HARRISON COUNTY SHERIFP’S DEPARTMEN
TRAINING ATTENDENCE RECGRD

Pe (¢, Ide (lu _ ATTENDED A TRAINING CLASS
(NAME)

TITLED Lows aut 4ohno¢ ame ik thostace

ON Ou ly \4 20 of AND RECEIVED

TRAINING CREDIT HOUR (S) / MINUTE (S).

CERTIFIED SIGNATURE: Wy
Oe

NAME OF CERTIFYING INDIVIDUAL:

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Case 1:05-cv-00326-LG-JMR Document 77-6 Filed 08/14/08 Page 40 of 44

HARRISON COUNTY SHERIFF’S DEPARTMENT
TRAINING ATTENDENCE RECORD

Annie. lilioe ATTENDED A TRAINING CLASS
(NAME)

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on UNE 9901 _ AND RECEIVED L, o

TRAINING CREDIT HOUR (S) / MINUTE (S).

CERTIFIED SIGNATURE:

NAME OF CERTIFYING INDIVIDUAL: “Da nie A Xx
(PRINT) —

Case 1:05-cv-00326-LG-JMR Document 77-6 Filed 08/14/08 Page 41 of 44

HARRISON COUNTY SHERIFF’S DEPARTMENT
TRAINING ATTENDENCE RECORD

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Case 1:05-cv-00326-LG-JMR Document 77-6 Filed 08/14/08 Page 42 of 44

ACKNOWLEDGEMENT RECEIPT

L () AMNe Ke nw , have this date received the following
(print full’dame).

document(s) from Sat 2, VO VS

‘(officer/supervisor)

[| Narrative(sy

Oo Informal Counseling

[| Formal Written Counseling

|_| Intent to Initiate Corrective Measures .

kX] Policy on Personnel Records

(ate)

ce: Major Riley
Captain Taylor
Personnel File

Case 1:05-cv-00326-LG-JMR Document 77-6 Filed 08/14/08 Page 43 of 44

HARRISON COUNTY SHERIFE’S DEPARTMENT
TRAINING ATTENDENCE RECORD

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ON alo 20041 AND RECEIVED

TRAINING CREDIT HOUR (S) / MINUTE (S).

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CERTIFIED SIGNATURE: L

NAME OF CERTIFYING INDIVIDUAL: he | low \ fl

(PRINT)

Case 1:05-cv-00326-LG-JMR Document 77-6 Filed 08/14/08 Page 44 of 44

HARRISON COUNTY SHERIEF’S DEPARTMENT
TRAINING ATTENDENCE RECORD

Anare (all. ATTENDED A TRAINING CLASS
(NAME) U
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ON | -2] 200% AND RECEIVED

TRAINING CREDIT HOUR (S) / MINUTE (S).

CERTIFIED SIGNATURE:

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’ NAME OF CERTIFYING INDIVIDUAL: Loa Aili

